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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                 Case No.1:18-cv-23576-KMW

   AM GRAND COURT LAKES LLC
   & AM 280 SIERRA DRIVE LLC,

           Plaintiffs/Counter-Defendants,

   v.

   ROCKHILL INSURANCE COMPANY,

        Defendant/Counter-Plaintiff.
   ______________________________/

        DEFENDANT/COUNTER-PLAINTIFF'S MOTION FOR REHEARING ON AND/OR
        RECONSIDERATION OF THE COURT'S FEBRUARY 12, 2020 ORDER DENYING
                 ITS MOTION FOR JUDGMENT AS A MATTER OF LAW

           Defendant/Counter-Plaintiff, ROCKHILL INSURANCE COMPANY (“Rockhill” or

   "Defendant"), by and through its undersigned counsel and pursuant to Federal Rules of

   Civil Procedure 60(a), hereby files Defendant's Motion for Rehearing and/or

   Reconsideration of this Court’s February 12, 2020 Order [D.E. #222] Denying its Motion

   for Judgment as a Matter of Law [D.E. #186]. In support thereof, Rockhill states as

   follows:

   I.      RELEVANT BACKGROUND

           1.    This is a first party insurance coverage dispute under a commercial

   insurance policy (the “Policy”) entered into between Rockhill and Plaintiffs, AM GRAND

   COURT LAKES LLC and AM 280 SIERRA DRIVE LLC ("Plaintiffs"), as to the property

   located at 280 Sierra Drive, North Miami, Florida 33179 (the "Insured Property"), for the

   effective period of November 7, 2016 through November 7, 2017. The Insured Property
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   is a dilapidated, run-down assisted-living facility built in the 1970’s, with roofs in age of

   excess of 25 years, uncontroverted prior losses (including a tornado in 2014 and/or 2016)

   and multiple violations by AHCA and the Building Department, among others, and was

   sold “as is” to YMP Grand Court Lakes LLP on April 11, 2019.

             2.   Plaintiffs claimed catastrophic losses in the instant case, based upon

   discredited and unqualified “expert” reports, seeking $16 million dollars from Rockhill for

   damages purportedly caused by Hurricane Irma. Conversely, Rockhill asserted that

   damages to the Insured Property were less than the Policy's $330,250.00 deductible

   when the asserted provisions and exclusions of the Policy were applied.

             3.   At trial, during the Plaintiffs’ case-in-chief, Rockhill exposed the unreliability

   and complete absence of generally accepted methodology employed by Plaintiffs’

   “experts” who supported Plaintiffs’ claim for damages. The opinions of these “experts”

   were based on inadequate independent data, insufficient data and, overwhelmingly on

   the unquestioned acceptance of the representations of Plaintiffs’ representatives pre-

   suit 1.

             4.   Plaintiffs failed to present any legally sufficient evidentiary basis to find in

   their favor on their breach of contract clam, and failed to present reliable evidence on the

   amount of damages, an element required to support the entry of judgment against

   Rockhill. Plaintiffs also failed to prove that the alleged damages are covered under the

   insurance policy that their damages are at least greater than the deductible.




   1 Defendant respectfully submits that the Court erred in refusing to strike and/or exclude the
   testimony of all of Plaintiffs’ purported experts in its entirety, notwithstanding Defendant’s written
   motions prior to trial (see D.E. #126 and D.E. #221) and its objections during trial.


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          5.      During trial in the above-referenced matter, at the close of Plaintiffs’ case

   in-chief, Defendant moved for entry of judgment as a matter of law on all claims, filing a

   written Motion for Judgment as a Matter of Law on November 20, 2019 [D.E. #186]. The

   Court reserved ruling and, after the close of evidence, but prior to submitting the action

   to the jury, Defendant verbally renewed its Motion for Judgment as a Matter of Law. The

   Court again reserved ruling, subject to its later deciding the legal questions raised by

   Defendants.

          6.      The jury trial in this matter was completed on November 22, 2019, and the

   jury returned a verdict in favor of Plaintiffs in the amount of $9,280,000.00. After the jury

   was discharged, Defendant requested to argue its Motion for Judgment as a Matter of

   Law [D.E. #186] and renewed Motion (collectively, the “Motions for Judgment as a Matter

   of Law”). At that time, the Court advised the parties that it was still reserving ruling 2.

          7.      On November 25, 2019, the Court entered an Order [D.E. #198] allowing

   the parties until December 9, 2019 to file supplementation, if any, as to Defendant’s

   Motions for Judgment as a Matter of Law.

          8.      On December 9, 2019, Defendant filed a Supplementary Brief in Support of

   its Motions for Judgment as a Matter of Law (the “Supplementary Brief”) [D.E. #207].

          9.      On February 12, 2020, eighty-two (82) days after the jury returned its verdict

   and Defendant requested permission to argue its Motions for Judgment as a Matter of

   Law, the Court entered a two (2) page Order Denying Defendant’s Motions for Judgment

   as a Matter of Law (the “Order”) [D.E. #222], without a hearing.




   2 Plaintiffs did not move for judgment as a matter of law at any time before the case was submitted
   to the jury.


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          10.    The Order does not mention any of the arguments or cases advanced by

   Defendant in its Motions for Judgment as a Matter of Law or its Supplementary Brief and

   is silent as to whether or not the Court reviewed Defendant’s Supplementary Brief or took

   it into consideration.

          11.    Therefore, as more particularly set forth herein, Defendant respectfully

   submits that, in order to prevent manifest injustice, the Court should rehear and/or

   reconsider Defendant’s Motions for Judgment as a Matter of Law because the entry of

   the Order denying same constitutes a mistake arising from oversight or omission.

   II.    MEMORANDUM OF LAW

          A. Federal Rule of Civil Procedure 60(a)

          Federal Rule of Civil Procedure 60(a) allows for relief from “a mistake arising from

   oversight or omission whenever one is found in a judgment, order, or other part of the

   record.” The courts have delineated three major grounds justifying reconsideration of its

   decisions, including “the need to correct clear error or prevent manifest injustice.”

   Sussman v. Salem, Saxon & Nielsen, P.A., 153 F.R.D. 689, 694 (M.D. Fla. 1994).

          Motions for reconsideration have been granted where the court overlooked matters

   that might have materially influenced an earlier decision. See Park South Tenants Corp.

   v. 200 Central Park South Associates, L.P., 754 F.Supp. 352, 354 (S.D.N.Y.), aff'd, 941

   F.2d 112 (2d Cir. 1991). See also, Banco de Seguros Del Estado v. Mut. Marine Offices,

   Inc., 230 F.Supp.2d 427, 428 (S.D.N.Y.2002)(quoting Range Rd. Music, Inc. v. Music

   Sales Corp., 90 F.Supp.2d 390, 392 (S.D.N.Y.2000)); Shamis v. Ambassador Factors

   Corp., 187 F.R.D. 148,151 (S.D.N.Y.1999); Fulani v. Brady, 149 F.R.D. 501, 503

   (S.D.N.Y. 1993), affd sub nom. Fulani v. Bensten, 35 F.3d 49 (2d Cir.1994).




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          B. Federal Rules of Civil Procedure 50(a) and 50(b)

          With regard to Defendant’s written Motion for Judgment as a Matter of Law, made

   at the close of Plaintiffs’ case in-chief [D.E. #186], Federal Rule of Civil Procedure 50(a)

   provides:

          (1) In General. If a party has been fully heard on an issue during a jury trial
          and the court finds that a reasonable jury would not have a legally sufficient
          evidentiary basis to find for the party on that issue, the court may:

          (A) resolve the issue against the party; and

          (B) grant a motion for judgment as a matter of law against the party on a
          claim or defense that, under the controlling law, can be maintained or
          defeated only with a favorable finding on that issue.

          (2) Motion. A motion for judgment as a matter of law may be made at any
          time before the case is submitted to the jury. The motion must specify the
          judgment sought and the law and facts that entitle the movant to the
          judgment.

          With regard to Defendant’s post-verdict renewal of its Motion for Judgment as a

   Matter of Law, Federal Rule of Civil Procedure 50(b), which allows a party to renew a

   motion for judgment as a matter of law made pursuant to Rule 50(a) following entry of a

   jury verdict, provides, in pertinent part:

          Renewing the Motion After Trial; Alternative Motion for a New Trial.


          If the court does not grant a motion for judgment as a matter of law made
          under Rule 50(a), the court is considered to have submitted the action to
          the jury subject to the court's later deciding the legal questions raised by the
          motion .... In ruling on the renewed motion, the court may:


          (1) allow judgment on the verdict, if the jury returned a verdict; (2) order a
          new trial; or (3) direct the entry of judgment as a matter of law..




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          When ruling upon a motion for judgment as a matter of law, District Courts are to

   “consider whether such sufficient conflicts exist in the evidence to necessitate submitting

   the matter to the jury or whether the evidence is so weighted in favor of one side that one

   party must prevail as a matter of law.” Thosteson v. United States, 331 F.3d 1294, 1298

   (11th Cir. 2003) (citing Mendoza v. Borden, Inc., 195 F.3d 1238, 1244 (11th Cir. 1999)

   (en banc); see also, Combs v. Plantation Patterns, 106 F.3d 1519, 1526 (11th Cir. 1997).

   If the facts and inferences point overwhelmingly in favor of one party, such that

   reasonable people could not arrive at a contrary verdict, then a motion for judgment as a

   matter of law is properly granted. Id.

          The Eleventh Circuit has instructed that the proper analysis under Rule 50 “’is

   squarely and narrowly focused on the sufficiency of evidence,’ that is, whether the

   evidence is ‘legally sufficient to find for the party on that issue.’ ” Chmielewski v. City of

   St. Pete Beach, 890 F.3d 942, 948 (11th Cir. 2018) (quoting Chaney v. City of Orlando,

   483 F.3d 1221, 1227 (11th Cir. 2007)).

          “Judgment as a matter of law for a defendant is appropriate, when there is

   insufficient evidence to prove an element of the claim, which means that no jury

   reasonably could have reached a verdict for the plaintiff on that claim.” Cadle v. GEICO

   Gen. Ins. Co., 838 F.3d 1113, 1121 (11th Cir. 2016). The motion should be granted when

   the plaintiff presents no legally sufficient evidentiary basis for a reasonable jury to find for

   him on a material element of his cause of action. Howard v. Walgreen Co., 605 F.3d 1239,

   1242 (11th Cir. 2010).




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          C. Breach of Contract Elements

          “[T]o prevail on a breach of contract action, [a plaintiff] must prove (1) a valid

   contract; (2) a material breach; and (3) damages.” See Murciano v. Garcia, 958 So.2d

   423, 423 (Fla. 3d DCA 2007). Damages recoverable by a party injured by a breach of

   contract are those which would naturally result from the breach and can reasonably be

   said to have been contemplated by the parties at the time the contract was made.” Sharick

   v. Se. University of the Health Sciences, Inc., 780 So.2d 136, 139 (Fla. 3d DCA 2000).

          The traditional rules governing breach of contract apply to insurance policies. In

   an action for breach of an insurance contract, judgment as a matter of law is proper where

   the Plaintiff (the insured) fails to present a legally sufficient evidentiary basis that the

   insurance company breached the insurance contract. Schmidt v. Allstate Insurance

   Company, 2008 WL 3287133 (D. Hawaii 2008). Likewise, a Plaintiff’s failure to present

   reliable evidence of the amount of damages can also support entry of judgment as a

   matter of law against it. Id. Hence, an unsubstantiated estimate on the value of damages

   constitutes grounds for entry of a directed verdict against a party. Id. It is well-settled than

   an insured must prove not only that its alleged damages are covered, but also that its

   damages are at least greater than the deductible. Appalachian Ins. Co. v. United Postal

   Savings Association, 422 So. 2d 332 (Fla. 3d DCA 1982)(insured must prove that it

   satisfies deductible of policy of insurance in order to recover damages).

          In the instant case, Plaintiffs had to prove that they complied with the Policy, that

   Defendant breached the Policy and that as a result of the breach they suffered covered

   damages, and Plaintiffs had to establish the dollar amount of damages resulting from

   direct physical loss to the property.




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          The Court gave the following instructions to the jury [D.E. #200]:

         To recover damages from Rockhill Insurance for breach of contract, AM Grand
         and AM 280 must prove the following:

          1. AM Grand, AM 280, and Rockhill Insurance entered into a contract. AM
          Grand, AM 280, and Rockhill have stipulated or agreed that the insurance
          policy entered into by Rockhill, AM Grand, and AM 280 satisfies this
          requirement;

          2. That AM Grand and AM 280 did all of the essential things the Policy
          required; and

          3. Rockhill Insurance breached the contract by failing to pay the amounts
          of money to which AM Grand and AM 280 were due under the Policy on
          their claim for insurance benefits.

   See [D.E. #200], p.13 of 24.

          If your verdict is for AM Grand and AM 280, you must also consider the
          matter of damages. You should award AM Grand and AM 280 an amount
          of money that the greater weight of the evidence shows will fairly and
          adequately compensate AM Grand and AM 280 for their damages.
          Compensatory damages is that amount of money which will put AM Grand
          and AM 280 in as good a position as they would have been if Rockhill had
          not breached the insurance policy and which naturally result from the
          breach.

   See [D.E. #200], p.22 of 24.

          At the close of Plaintiffs’ case-in-chief, it was clear that Plaintiffs had not satisfied

   their burden by proving that Rockhill breached the Policy or that they suffered any

   damages a result. In fact, not one witness that testified in Plaintiffs’ case provided any

   evidence of how Defendant breached the Policy or the amount of damages purportedly

   suffered by Plaintiffs as a result of any breach. Plaintiffs failed to adduce evidence that

   the jury could properly use to determine whether Defendant breached the Policy or any

   amount of damages, if any.




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          Further, Rockhill met its burden of proving its Affirmative Defenses by the greater

   weight of the evidence and Plaintiffs failed to refute the evidence presented in support of

   each of the following Court’s Instructions to the Jury [D.E. #200]:

                  (1) Duties of the Named Insured in the Event of Loss or Damage;
                  (2) Pre-Existing Damage;
                  (3) Wear and Tear, Rust or Corrosion Damage;
                  (4) Wind-Driven Rain Endorsement;
                  (5) Seepage or Leakage of Water;
                  (6) Faulty, Inadequate or Defective Maintenance; and
                  (7) Roof Covering Conditional Valuation.

   See [D.E. #200], p.12 of 24.

   Plaintiffs did not move the Court for a Judgment as a Matter of Law either by written

   motion or ore tenus at any time during the proceedings.

          All of the evidence considered in the light most favorable to the Plaintiffs pointed

   overwhelmingly in favor of Defendant and there was no conceivable way that a

   reasonable person could have arrived at a verdict other than in favor of Defendant. 3

   Defendant exposed the unreliability and complete absence of generally accepted

   methodology employed by Plaintiffs’ sole expert and other “fact” witnesses (other than

   Julie Corbett) who attempted to support Plaintiffs’ claim for an unsubstantiated amount of

   damages as a result of Hurricane Irma 4. Plaintiffs themselves could not account for an

   amount of money it would take to make repairs to the property for Hurricane Irma-related




   3Defendant proved each and every fact to support ALL of its Affirmative Defenses through all
   witnesses, Plaintiffs’ and Defendant’s, which are all consistent with the pre-trial filings and
   conform with its assertion and presentation of its Affirmative Defenses.
   4At trial, Plaintiffs’ witnesses testified outside of what they were allowed to testify about (see D.E.
   #126) over Defendant’s objection.



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    damages 5. Plaintiffs’ other three (3) witnesses, to wit: Mr. Arce, Mr. Brizuela and Mr.

    Gonzalez were retained by the Plaintiffs’ counsel’s law firm in July of 2018 – after or at

    the time of the filing of the lawsuit against Defendant – all viewing the condition of the

    property 10 months or longer after the alleged date of loss. Mr. Arce testified that the

    roofs could be partially repaired yet he did not prepare an estimate even for those repairs

    and as such, Mr. Arce could offer no evidence of the cost to repair the direct physical

    damage to the insured property as a result of Hurricane Irma or the cause of the supposed

    moisture throughout the property. Mr. Gonzalez added zero value to the Plaintiffs’ case

    as he also failed to offer any evidence of the cost to repair hurricane-related damages.

    The opinion of the one permissible “expert” for Plaintiffs is based on hearsay, inadequate

    data of others, insufficient data and, overwhelmingly on the unquestioned acceptance of

    the representations of Plaintiffs’ representatives pre-suit, as well as conceded violations

    of AHCA and Mr. Brizuela’s own violation of Florida Administrative Code amounting to

    grounds for disciplinary proceedings.

    III.   CONCLUSION

           Plaintiffs failed to present at trial, either directly or by fair inference, any evidence

    that would give rise to any genuine issue of disputed material fact on any or all elements

    of Plaintiffs’ claim, including any breach of the Policy by Defendant, and failed to present

    reliable, let alone any evidence of the amount of damages, including any covered

    damages exceed the Policy’s deductible - an element required to support the entry of

    judgment in their favor.




    5Plaintiffs completely and undeniably failed to provide the support for the “emergency repairs”
    made to the roof of Building D.


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           In light of the foregoing, the evidence did not support the jury’s verdict in the instant

    case, and the only reasonable conclusion based upon the evidence that the jury could

    have reached should have been in favor of Defendant.                 Accordingly, Defendant

    respectfully submits that the Order constitutes a mistake arising from oversight or

    omission and, prevent manifest injustice, the Court should rehear and/or reconsider

    Defendant’s Motions for Judgment as a Matter of Law.

           WHEREFORE,           Defendant/Counter-Plaintiff,        ROCKHILL         INSURANCE

    COMPANY, respectfully requests that the Court enter an Order granting its Motion for

    Rehearing on and/or Reconsideration of this Court’s February 12, 2020 Order [D.E. #222]

    Denying its Motion for Judgment as a Matter of Law. [D.E. #186] and awarding any and

    all further relief that it deems just and proper under the circumstances.




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                                CERTIFICATE OF CONFERENCE

           Counsel for Rockhill certifies that, in accordance with S.D. Fla. L.R. 7.1(a)(3), they
    have conferred or attempted to confer with counsel for Plaintiffs via electronic
    correspondence concerning the relief sought in this Motion, in a good faith effort to resolve
    the issues raised in the Motion. Plaintiffs have not responded or otherwise expressed a
    position as to the relief requested herein.


                                   CERTIFICATE OF SERVICE

           I hereby certify that on February 25, 2020, I electronically filed the foregoing
    document with the clerk of the Court using CM/ECF. I also certify that the foregoing
    document is being served via email this day to: Font & Nelson, PLLC, 200 S. Andrews
    Avenue,     Suite    501,   Fort     Lauderdale,   Florida   33301     (jfont@fontnelson.com;
    afriedman@fontnelson.com;            bfischer@fontnelson.com;        fnelson@fontnelson.com;
    gvega@fontnelson.com;               jproffitt@fontnelson.com;         jwilds@fontnelson.com;
    nkronen@fontnelson.com;            pleadings@fontnelson.com); either via transmission of
    Notices of Electronic Filing generated by CM/ECF or in some other authorized manner
    for those counsel or parties who are not authorized to receive electronically Notices of
    Electronic filing.

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